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                                                                                       SUPPRESSED
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
                                                                                               FILED
 UNITED STATES OF AMERICA,                          )
                                                    )                                       JUN 14 2023
             Plaintiff,                             )                                     U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF MO
                                                    )                                           ST LOUIS
 V.                                                 )
                                                    )
 MARTEZ D. LINDSEY,                                 )     4:23CR310 MTS/RHH
                                                    )
             Defendant.                             )

                                           INDICTMENT

         The Grand Jury charges that:

                                           COUNT ONE
                                       18 U.S.C. § 922(g)(l)
                          (Possession of a Firearm by a Convicted Felon)

         On or about April 25, 2023, in the City of St. Louis, within the Eastern District of Missouri,

 the Defendant,

                                      MARTEZ D. LINDSEY,

 knowing he previously had been convicted of one or more crimes punishable by a term of imprisonment

 exceeding one year, knowingly possessed a firearm, which had traveled in interstate or foreign

 commerce-all in violation of Title 18, United States Code, Section 922(g)( 1).


                                  FORFEITURE ALLEGATION

        The Grand Jury further finds by probable cause that:

        1.        Pursuant to Title 18, United States Code, Section 924(d)(l) and Title 28, United

 States Code, Section 2461 (c), upon conviction of an offense in violation of Title 18, United States

 Code, Sections 922(g) or 924(c) as set forth above, the Defendant shall forfeit to the United States

 of America any firearm or ammunition involved in or used in said violation(s).

        2.        If any of the property described above, as a result of any act or omission of the
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Defendant

       a.      cannot be located upon the exercise of due diligence:

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the court;

       d.      has been substantially diminished in value: or

       e.      has been commingled with other property which cannot be divided without difficulty,
the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).




                                                              A TRUE BILL



                                                              FOREPERSON

SAYLER A. FLEMING
United States Attorney


ZACHARY M. BLUESTONE, #69004MO
Assistant United States Attorney
